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MANDATORY FORM PLAN (Revised 01/22/2018)

                                                                     UNITED STATES BANKRUPTCY COURT
                                                                        SOUTHERN DISTRICT OF OHIO

 In re                                                                               )        Case No. 19-52890
 Frank E Donelson, Jr                                                                )
                                                                                     )    Chapter 13
                                           Debtor(s)                                 )    Judge Preston

                                                                            CHAPTER 13 PLAN

1. NOTICES
 The Debtor has filed a case under chapter 13 of the Bankruptcy Code. A notice of the case (Official Form 309I) will be sent
 separately.

 This is the Mandatory Form Chapter 13 Plan adopted in this District. Local Bankruptcy Rule (“LBR”) 3015-1. “Debtor” means
 either a single debtor or joint debtors as applicable. “Trustee” means Chapter 13 Trustee. Section “§” numbers refer to sections of
 Title 11 of the United States Bankruptcy Code. “Rule” refers to the Federal Rules of Bankruptcy Procedure.
 Unless otherwise checked below, the Debtor is eligible for a discharge under § 1328(f).
               Debtor         is not eligible for a discharge.
               Joint Debtor         is not eligible for a discharge.
     Initial Plan.
     Amended Plan. The filing of this Amended Plan shall supersede any previously filed Plan or Amended Plan and
 must be served on the Trustee, the United States trustee and all adversely affected parties. If the Amended Plan
 adversely affects any party, the Amended Plan shall be accompanied by the twenty-one (21) day notice. Rule 2002(a)(9). Any
 changes (additions or deletions) from the previously filed Plan or Amended Plan must be clearly reflected
 in bold, italics, strike-through or otherwise in the Amended Plan filed with the Court. LBR 3015-2(a)(1).
 If an item is not checked, the provision will be ineffective if set out later in the Plan.
     This Plan contains nonstandard provisions in Paragraph 13.
     The Debtor proposes to limit the amount of a secured claim based on the value of the collateral securing the claim. See
 Paragraph(s) 5.1.2 and/or 5.1.4.
     The Debtor proposes to eliminate or avoid a security interest or lien. See Paragraph(s) 5.4.1, 5.4.2 and 5.4.3.

 NOTICE TO CREDITORS: You should read this Plan carefully, including Paragraph 13 (Nonstandard Provisions), and
 discuss it with your attorney if you have one in this bankruptcy case. If you do not have an attorney, you may wish to consult
 one. Except as otherwise specifically provided, upon confirmation, you will be bound by the terms of this Plan. Your claim
 may be reduced, modified, or eliminated. The Court may confirm this Plan if no timely objection to confirmation is filed.


2. PLAN PAYMENT AND LENGTH

2.1 Plan Payment. The Debtor shall pay to the Trustee the amount of $170 per month for 11(eleven) months then $510 until end of
Plan. [Enter step payments below, if any.] The Debtor shall commence payments within thirty (30) days of the petition date.

2.1.1 Step Payments, if any:
             $170 for 11 (eleven) months
             $510 until end of Plan

2.2 Unsecured Percentage.

  Percentage Plan. Subject to Paragraph 2.3, this Plan will not complete earlier than the payment of              25.00   % on each allowed
nonpriority unsecured claim.

    Pot Plan. Subject to Paragraph 2.3, the total amount to be paid by the Debtor to the Trustee is
$     . Assuming all claims are filed as scheduled or estimated by the Debtor, payment on each
allowed nonpriority unsecured claim is estimated to be no less than        %. LBR 3015-1(c)(2).

2.3 Means Test Determination.

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  Below Median Income. Unless the allowed nonpriority unsecured claims are paid 100%, the projected length of the Plan must be a
minimum of thirty-six (36) months but not to exceed sixty (60) months.

   Above Median Income. Unless the allowed nonpriority unsecured claims are paid 100%, projected length of the Plan must be
sixty (60) months.

3. PRE-CONFIRMATION LEASE PAYMENTS AND ADEQUATE PROTECTION PAYMENTS

Pre-confirmation personal property lease payments governed by § 1326(a)(1)(B) shall be made as part of the total plan payment to the
Trustee. LBR 3070-1(a). Pre-confirmation adequate protection payments governed by § 1326(a)(1)(C) shall be made as part of the
total plan payment to the Trustee. LBR 3070- 1(b). The lessor/secured creditor must file a proof of claim to receive payment. LBR
3070-1(a) and (b).

 Name of Lessor/Secured Creditor                                     Property Description              Monthly Payment Amount
 -NONE-

4. SECURED CLAIMS: TIMING REQUIREMENTS; SERVICE REQUIREMENTS

4.1          Non-Government Unit Secured Claims. The Debtor may propose to limit the amount of a secured claim based on the value of
             the collateral securing the claim by the procedure proposed in Paragraphs 5.1.2 and 5.1.4. Further, the Debtor may propose to
             eliminate or avoid a security interest or lien by the procedure proposed in Paragraphs 5.4.1, 5.4.2 and 5.4.3. If the Debtor
             proposes to seek any of the above-stated relief by way of motion or claim objection, the motion or claim objection must be
             filed on or before the § 341 meeting of creditors or the confirmation hearing may be delayed. If a judicial lien or
             nonpossessory, nonpurchase-money security interest is discovered after confirmation of the Plan, a motion to avoid the
             judicial lien or security interest may be promptly filed after it is discovered.

4.2          Governmental Unit Secured Claims. A request to determine the amount of the secured claim of a governmental unit or to
             modify and eliminate the secured claim of a governmental unit may be made only by motion or claim objection. Rule
             3012(c). Any motion or claim objection that includes a request to determine the amount of the secured claim of a
             governmental unit (including any such motion or claim objection that also includes a request to determine the amount of the
             secured claim of a non-governmental entity) may be filed only after the governmental unit files a proof of claim or after the
             time for filing one has expired. Rule 3012, advisory committee note (2017 Amendments).

4.3          Service Requirements. If the Debtor proposes to seek relief under Paragraphs 5.1.2, 5.1.4, 5.4.1, 5.4.2, or 5.4.3, the motion,
             Plan or claim objection, as applicable, must be served in the manner provided by Rule 7004 for service of a summons and
             complaint. Rule 3007(a)(2), Rule 3012(b), Rule 4003(d) and General Order 22-2.

4.4          Retention of Lien. The holder of any claim listed in Paragraphs 5.1.2, 5.1.4 and 5.4.1 will retain its lien on the property
             interest of the Debtor or the Debtor's estate until the earlier of --(a) payment of the underlying debt determined under
             nonbankruptcy law, (b) discharge of the underlying debt under 11 U.S.C. § 1328, or (c) completion of the Plan --at which
             time the lien will terminate and be released by the creditor

5. PAYMENTS TO CREDITORS

                                                                     SUMMARY OF PAYMENTS BY CLASS

 Class                                                               Definition                        Payment/Distribution by Trustee
 Class 1                                                             Claims with Designated Specific   Paid first in the monthly payment
                                                                     Monthly Payments                  amount designated in the Plan
 Class 2                                                             Secured Claims with No            Paid second and pro rata with other
                                                                     Designated Specific Monthly       Class 2 claims.
                                                                     Payments and Domestic Support
                                                                     Obligations (Arrearages)
 Class 3                                                             Priority Claims                   Paid third and pro rata with other
                                                                                                       Class 3 claims.
 Class 4                                                             Nonpriority Unsecured Claims      Paid fourth and pro rata with other
                                                                                                       Class 4 claims.

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Class 5                         Claims Paid by a Non-Filing Co-                                              Not applicable
                                Debtor or Third Party
Class 6                         Claims Paid by the Debtor                                                    Not applicable

Except as provided in Paragraph 3, the Trustee shall begin making distributions upon confirmation. To the extent funds are available,
the maximum number of Classes may receive distributions concurrently. Notwithstanding the above, the Trustee is authorized within
the Trustee’s discretion to calculate the amount and timing of distributions as is administratively efficient.

5.1 CLASS 1 - CLAIMS WITH DESIGNATED SPECIFIC MONTHLY PAYMENTS

The following Class 1 claims shall be paid first in the monthly payment amount designated below. The plan payment is calculated in
an amount that is sufficient for the Trustee to make a full monthly distribution on all Class 1 claims plus the statutory Trustee fee. If
the Debtor makes a payment that is less than the full plan payment amount, the Trustee will make distributions on Class 1 claims in
the order of priority set forth in the Bankruptcy Code.

5.1.1 Maintenance of Regular Mortgage Payments

Regular mortgage payments shall be calculated for payment starting the month after the filing of the
petition. Arrearages shall be paid as Class 2 claims.

Trustee disburse.

 Name of Creditor                                   Property Address                   Residence (Y/N)                 Monthly Payment Amount
 None
Debtor direct pay. Unless otherwise ordered by the Court, regular monthly mortgage payments may only
be paid directly by the Debtor if the mortgage is current as of the petition date. LBR 3015-1(e)(1).
 Name of Creditor                   Property Address                  Residence (Y/N)                Monthly Payment Amount
 None

5.1.2 Modified Mortgages or Liens Secured by Real Property [“Cramdown/Real Property”]

The following claims are subject to modification as (1) claims secured by real property that is not the Debtor’s principal residence, (2)
claims secured by other assets in addition to the Debtor’s principal residence, or (3) claims for which the last payment on the original
payment schedule for a claim secured only by a security interest in real property that is the Debtor’s principal residence is due before
the date on which the final payment under the plan is due. 11 U.S.C. §§ 1322(b)(2), (c)(2). To the extent that a claim is in excess of the
value of the property, the balance in excess of the value of the property shall be treated as a Class 4 nonpriority unsecured claim. See
Paragraph 4 for more information.

 Name of                                     Property Address                 Value of Property                Interest Rate Minimum Monthly
 Creditor/Procedure                                                                                                          Payment
 None

     Motion
     Plan
     Claim Objection

5.1.3 Claims Secured by Personal Property for Which § 506 Determination is Not Applicable [“910 Claims/Personal
Property”]

The following claims are secured by a purchase money security interest in either (1) a motor vehicle acquired for the Debtor’s
personal use within 910 days of the petition date or (2) personal property acquired within one year of the petition date. The proof of
claim amount will control, subject to the claims objection process.

 Name of Creditor                  Property Description                Purchase Date       Estimated Claim         Interest Rate   Minimum Monthly
                                                                                           Amount                                  Payment Including
                                                                                                                                   Interest
 -NONE-                                                                                    $                                       $

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5.1.4 Claims Secured by Personal Property for Which § 506 Determination is Applicable [“Cramdown/Personal Property”]

The following claims are secured by personal property not described above in Paragraph 5.1.3. To the extent that a claim is in excess
of the value of the property, the balance in excess of the value of the property shall be treated as a Class 4 nonpriority unsecured
claim. See Paragraph 4 for more information.

 Name of                                 Property Description               Purchase/            Value of Property   Interest Rate   Minimum Monthly
 Creditor/Procedure                                                         Transaction Date                                         Payment Including
                                                                                                                                     Interest
 -NONE-                                                                                          $                   %               $

  Motion
  Plan
  Claim Objection

5.1.5 Domestic Support Obligations (On-Going) - Priority Claims under § 507(a)(1)

If neither box is checked, then presumed to be none.
    Trustee disburse
    Debtor direct pay

The name of any holder of any domestic support obligation as defined in § 101(14A) shall be listed below. If the Debtor becomes
subject to a domestic support obligation during the Plan term, the Debtor shall notify his or her attorney and the Trustee.

 Name of Holder                                                      State Child Support Enforcement Agency,    Monthly Payment Amount
                                                                     if any
 -NONE-                                                                                                         $

5.1.6 Executory Contracts and Unexpired Leases

The Debtor rejects the following executory contracts and unexpired leases.

             Notice to Creditor of Deadline to File Claim for Rejection Damages: A proof of claim for rejection damages must be filed
             by the creditor within seventy (70) days from the date of confirmation of the Plan. Rule 3002(c)(4). Such claim shall be
             treated as a Class 4 nonpriority unsecured claim.

 Name of Creditor                                                                        Property Description
 -NONE-

The Debtor assumes the following executory contracts and unexpired leases. Unless otherwise ordered by the Court, all motor
vehicle lease payments shall be made by the Trustee. LBR 3015-1(d)(2). Any prepetition arrearage shall be cured in monthly
payments prior to the expiration of the executory contract and unexpired lease. The Debtor may not incur debt to exercise an option to
purchase without obtaining Trustee or Court approval. LBR 4001-3.

Trustee disburse.

 Name of Creditor                  Property Description Regular Number of                Monthly                Estimated Arrearage Contract/Lease
                                                        Payments                         Contract/Lease         as of Petition Date Termination Date
                                                        Remaining as of                  Payment
                                                        Petition Date
 -NONE-                                                                                  $                      $

Debtor direct pay.




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Name of Creditor Property Description Regular Number of                                  Monthly               Estimated Arrearage Contract/Lease
                                      Payments                                           Contract/Lease        as of Petition Date Termination Date
                                      Remaining as of                                    Payment
                                      Petition Date
 -NONE-                                                                                  $                     $

5.1.7 Administrative Claims

The following claims are administrative claims. Unless otherwise ordered by the Court, requests for additional attorney fees beyond
those set forth below will be paid after the attorney fees set forth below and in the same monthly amount as set forth below. LBR
2016-1(b).

 Name of Claimant                                   Total Claim                          Amount to be Disbursed by       Minimum Monthly Payment
                                                                                         Trustee                         Amount
 Mitchell Marczewski                                3,700.00                             3,460.00                        150.43
 (0073258)

5.2 CLASS 2 - SECURED CLAIMS WITH NO DESIGNATED MONTHLY PAYMENTS AND DOMESTIC SUPPORT
OBLIGATIONS (ARREARAGES)

5.2.1 Secured Claims with No Designated Monthly Payments

The following claims are secured claims with no designated monthly payments, including mortgage arrearages,
certificates of judgment and tax liens. The proof of claim amount shall control, subject to the claims objection
process. Class 2 claims shall be paid second and shall be paid pro rata with other Class 2 claims.

 Name of Creditor                                                                        Estimated Amount of Claim
 -NONE-                                                                                  $

5.2.2 Domestic Support Obligations (Arrearages) - Priority Claims under § 507(a)(1)

    Trustee disburse
    Debtor direct pay

The name of any holder of any domestic support obligation arrearage claim or claim assigned to or owed to a governmental unit and
the estimated arrearage amount shall be listed below.

 Name of Holder                                                      State Child Support Enforcement Agency,   Estimated Arrearage
                                                                     if any
 -NONE-                                                                                                                                                     $

5.3 CLASS 3 - PRIORITY CLAIMS

Unless otherwise provided for in § 1322(a), or the holder agrees to a different treatment, all priority claims
under § 507(a) shall be paid in full in deferred cash payments. § 1322(a). Class 3 claims shall be paid third
and shall be paid pro rata with other Class 3 claims.

5.4 CLASS 4 - NONPRIORITY UNSECURED CLAIMS

Allowed nonpriority unsecured claims shall be paid a dividend as provided in Paragraph 2.2. Class 4 claims
shall be paid fourth and shall be paid pro rata with other nonpriority Class 4 claims.

5.4.1 Wholly Unsecured Mortgages/Liens

The following mortgages/liens are wholly unsecured and may be modified and eliminated. See In re Lane, 280 F.3d 663 (6th Cir.
2002). See Paragraph 4 for additional information. Preferred form motions and orders are available on the Court’s website at
www.ohsb.uscourts.gov.

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                 Name of Creditor/Procedure                                     Property Address

 -NONE-

                 Motion
                 Plan
                 Value of Property                           SENIOR Mortgages/Liens                                       Amount of Wholly Unsecured
                                                             (Amount/Lienholder)                                          Mortgage/Lien
                 $                                                                                                        $

5.4.2 Judicial Liens Impairing an Exemption in Real Property

The following judicial liens impair the Debtor’s exemption in real property and may be avoided under § 522(f)(1)(A). See Paragraph 4
for additional information. Preferred form motions and orders are available on the Court’s website at www.ohsb.uscourts.gov.

                 Name of                                 Property Address                           Value of Property           Exemption
                 Creditor/Procedure
                                                                                                    $                           $
  -NONE-
                  Motion                                                                            Debtor's Interest           Statutory Basis
                  Plan                                                                              $

                                        OTHER Liens or Mortgages                                        Judicial Lien        Amount of Judicial Lien to be
                                        (Amount/Lienholder Name)                                                             Avoided
                                                                                             $                               $

                                                                                             Recorded Date                   Effective Upon:


5.4.3 Nonpossessory, Nonpurchase-Money Security Interest in Exempt Property

The following nonpossessory, nonpurchase-money security interests impair the Debtor’s exemption in personal property and may be
avoided under § 522(f)(1)(B). See Paragraph 4 for additional information. Preferred form motions and orders are available on the
Court’s website at www.ohsb.uscourts.gov.

 Name of                             Property Description Value of Property                      Exemption                  Amount of Security Interest to
 Creditor/Procedure                                                                                                         be Avoided
 -NONE-                                                               $                       $                             $

  Motion                                                                                      Statutory Basis               Effective Upon:
  Plan


5.4.4 Mortgages to be Avoided Under 11 U.S.C. § 544

The following debts secured by a mortgage will be paid as unsecured claims concurrent with other Class 4 claims. The Debtor or the
Trustee shall file an adversary proceeding to determine whether the mortgage may be avoided. To the extent that the Trustee has
standing to bring such action, standing is hereby assigned to the Debtor, provided a colorable claim exists that would benefit the
estate.

 Name of Creditor                                                    Action to be Filed By                        Address of Property
 -NONE-                                                              Debtor
                                                                     Trustee

5.5 CLASS 5 - CLAIMS PAID BY A NON-FILING CO-DEBTOR OR THIRD PARTY


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The following claims shall not be paid by the Trustee or the Debtor but shall be paid by a non-filing co-debtor or third party.

 Name of Creditor                                                                 Name of Payor
 -NONE-

5.6 CLASS 6 - CLAIMS PAID DIRECTLY BY THE DEBTOR

The following claims shall not be paid by the Trustee but shall be paid directly by the Debtor.

 Name of Creditor                                                                 Monthly Payment Amount
 -NONE-

6. SURRENDER OF PROPERTY

The Debtor elects to surrender to the creditor the following property that is collateral for the creditor’s claim. Upon confirmation of
the Plan, the stay under § 362(a) and, if applicable, § 1301(a) shall be terminated as to the surrendered property only. Rule 3015(g)(2).

 Name of Creditor                                                                 Description of Property
 Springleaf Financial                                                             1999 Ford F350

7. INTEREST RATE

Unless otherwise stipulated by the parties, ordered by the Court or provided for in this Plan and except for claims treated in paragraph
5.1.1, secured claims shall be paid interest at the annual percentage rate of 5.5 % based upon a declining monthly balance on the
amount of the allowed secured claim. Interest is included in the monthly payment amount. See Till v. SCS Credit Corp. (In re Till),
541 U.S. 465 (2004).

    This is a solvent estate. Unless otherwise provided, all nonpriority unsecured claims shall be paid in full with interest at           %
          from the date of confirmation. If this box is not checked, the estate is presumed to be insolvent.

8. FEDERAL INCOME TAX RETURNS AND REFUNDS

8.1 Federal Income Tax Returns

If requested by the Trustee, the Debtor shall provide the Trustee with a copy of each federal income tax return filed during the Plan
term by April 30 of each year.

8.2 Federal Income Tax Refunds

Notwithstanding single/joint tax filing status, the Debtor may annually retain the greater of (1) any earned income tax credit and
additional child tax credit or (2) $3,000 of any federal income tax refund for maintenance and support pursuant to § 1325(b)(2) and
shall turnover any balance in excess of such amount to the Trustee. Unless otherwise ordered by the Court, tax refunds turned over to
the Trustee shall be distributed by the Trustee for the benefit of creditors. Any motion to retain a tax refund in excess of the amount set
forth above shall be filed and served pursuant to LBR 9013-3(b).

9. OTHER DUTIES OF THE DEBTOR

9.1 Change of Address, Employment, Marital Status, or Child or Spousal Support Payments

The Debtor shall fully and timely disclose to the Trustee and file any appropriate notice, application or motion with the Court in the
event of any change of the Debtor’s address, employment, marital status, or child or spousal support payments.

9.2 Personal Injury, Workers Compensation, Buyout, Severance Package, Lottery Winning, Inheritance,
or Any Other Amount

The Debtor shall keep the Trustee informed as to any claim for or expected receipt of money or property regarding personal injury,
workers compensation, buyout, severance package, lottery winning, inheritance, or any other funds to which the Debtor may be
entitled or becomes entitled to receive. Before the matter can be settled and any funds distributed, the Debtor shall comply with all
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requirements for filing applications or motions for settlement with the Court as may be required by the Bankruptcy Code, the
Bankruptcy Rules or the Local Bankruptcy Rules. Unless otherwise ordered by the Court, these funds shall be distributed by the
Trustee for the benefit of creditors.

9.3 Social Security

The Debtor shall keep the Trustee informed as to any claim for or expected receipt of social security funds.

10. INSURANCE

10.1 Insurance Information

As of the petition date, the Debtor’s real and personal property is insured as follows.

 Property Address/                        Insurance Company             Policy Number       Full/Liability     Agent Name/ Contact
 Description                                                                                                   Information
 None

10.2 Casualty Loss Insurance Proceeds (Substitution of Collateral)

If a motor vehicle is deemed to be a total loss while there is still an unpaid claim secured by the motor vehicle, the Debtor shall have
the option to use the insurance proceeds to either (1) pay off the balance of the secured claim through the Trustee if the secured
creditor is a named loss payee on the policy or (2) upon order of the Court, substitute the collateral by purchasing a replacement motor
vehicle. If a replacement motor vehicle is purchased, the motor vehicle shall have a value of not less than the balance of the unpaid
secured claim, the Debtor shall ensure that the lien of the creditor is transferred to the replacement motor vehicle, and the Trustee shall
continue to pay the allowed secured claim. Unless otherwise ordered by the Court, if any insurance proceeds remain after paying the
secured creditor’s claim, these funds shall be distributed by the Trustee for the benefit of creditors.

11. EFFECTIVE DATE OF THE PLAN

The effective date of the Plan is the date on which the order confirming the Plan is entered.

12. VESTING OF PROPERTY OF THE ESTATE

Unless checked below, property of the estate does not vest in the Debtor until the discharge is entered. The Debtor shall remain
responsible for the preservation and protection of all property of the estate.

    Confirmation of the Plan vests all property of the estate in the Debtor in accordance with §§ 1327(b)

    Other

13. NONSTANDARD PROVISIONS

The nonstandard provisions listed below are restricted to those items applicable to the particular circumstances of the Debtor.
Nonstandard provisions shall not contain a restatement of the Bankruptcy Code, the Bankruptcy Rules, the Local Bankruptcy Rules or
the Mandatory Chapter 13 Form Plan. Any nonstandard provision placed elsewhere in this Plan is void and shall have no binding
effect.

 Nonstandard Provisions




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By filing this Plan, the Debtor, if unrepresented by an attorney, or the Debtor’s Attorney certifies that (1) the wording and order of
provisions of this Plan are identical to those contained in the Mandatory Form Chapter 13 Plan adopted in this District and (2) this
Plan contains no nonstandard provisions other than those set forth in Paragraph 13.

  Debtor's Attorney
  /s/ Mitchell Marczewski
  Mitchell Marczewski (0073258)
  Date: May 10, 2019

 Debtor
 /s/ Frank E Donelson
 Frank E Donelson, Jr
 Date:     May 10, 2019




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                                        NOTICE OF DEADLINE FOR OBJECTING TO PLAN CONFIRMATION

               Debtor has filed a Chapter 13 Plan or an Amended Chapter 13 Plan (collectively, the “Plan”).

           Your rights may be affected. You should read the Plan carefully and discuss it with your attorney, if you have one in this
      bankruptcy case. If you do not have an attorney, you may wish to consult one.

           If you do not want the Court to confirm the Plan, you must file an objection to the Plan within the later of: 1) fourteen (14)
     days after the § 341 meeting of creditors is concluded; OR 2) twenty-one (21) days from the date set forth in the certificate of
     service of this Plan. If a timely objection to the Plan is filed within seven (7) days of the confirmation hearing date, the
     confirmation hearing will be rescheduled. Rule 3015(f).

          Your objection to the Plan, explaining your position, must be filed with the Court and mailed by ordinary U.S. Mail to the
     United States Bankruptcy Court.

                                                                     170 North High Street, Columbus OH 43215

     OR your attorney must file the objection using the Court’s ECF System.

                                       The Court must receive your objection on or before the applicable deadline above.

     You must also send a copy of your objection either by 1) the Court’s ECF System or by 2) ordinary
     U.S. Mail to:

     Frank Donelson, 2635 E Pike, Zanesville OH 43701
     Mitchell C. Marczewski, Esq., 1020 Maple Ave., Zanesville OH 43701
     Frank Pees, Chapter 13 Trustee, 130 E. Wilson Bridge Rd., Suite 200, Worthington, Ohio 43085-6300

     and the United States trustee.

           If you or your attorney does not take these steps, the Court may decide that you do not oppose the terms of the Plan and may
     enter an order confirming the Plan without further hearing or notice.




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                                                                         Certificate of Service

        I hereby certify that a copy of the foregoing Plan was served (i) electronically on the date of filing through the court's ECF
System on all ECF participants registered in this case at the email address registered with the Court and (ii) by ordinary U.S. Mail on
May 10, 2019 addressed to:


 AEP, Bankruptcy Dept, 1 AEP Way, Hurricane, WV 25526-1231
 AES/Wells Fargo, PO Box 61047, Harrisburg, PA 17106
 Atlas Acquisitions, LLC, 294 Union St., Hackensack, NJ 07601
 Attorney General of Ohio, Bankruptcy & Collections Enforcement, 150 E Gay St 21st Floor, Columbus, OH 43215
 Caine & Weiner, 15025 Oxnard Street, Suite 100, Van Nuys, CA 91411
 Capital One Bank, 15000 Capital One Dr, Richmond, VA 23238
 Cash Max, 3126 Maple Avenue, Zanesville, OH 43701
 Checksmart, 1069 Linden Ave, Zanesville, OH 43701
 Chex Systems, 7805 Hudson Rd Ste 100, Saint Paul, MN 55125
 Choice Recovery, PO Box 20790, Columbus, OH 43220
 Citibank/Indigo, PO Box 4499, Beaverton, OR 97076
 Continental Finance, PO Box 8099, Newark, DE 19714
 Credit Acceptance Corp, PO Box 5070, Southfield, MI 48086
 Credit One Bank, PO Box 98875, Las Vegas, NV 89193
 CU Recovery, 26263 Forest Blvd, Wyoming, MN 55092
 Department of Treasury, Financial Management Service, P.O. Box 1686, Birmingham, AL 35201-1686
 First Premier Bank, 3820 N Louise Ave, Sioux Falls, SD 57107
 Fortiva Mastercard, PO Box 105555, Atlanta, GA 30348
 Greg Bromley, 10614 Open Woods Dr, Thornville, OH 43076
 IRS, Centralized Insolvency Operations, Box 7346, Philadelphia, PA 19106-7346
 Jefferson Capital System LLC, P.O. Box 772813, Chicago, IL 60677
 Merrick Bank, Resurgent Capital Services, PO Box 10368, Greenville, SC 29603
 Midland Credit Management, PO BOX 2011, Warren, MI 48090-2011
 Muskingum County Common Pleas, Case No.: JL88-0861, 401 Main Street, Zanesville, OH 43701
 Muskingum Cty Treasurer, 401 Main St , 1st Floor, Zanesville, OH 43701
 Notre Dame FCU, 1828 Moreau Dr, Notre Dame, IN 46556
 Ohio Bureau of Workers Compensation, Bankruptcy Unit, Box 15567, Columbus, OH 43215-0567
 Ohio Dept of Job & Family Services, 30 E. Broad St, 32nd Floor, Columbus, OH 43215
 Ohio Dept of Taxation, Bankruptcy Division, Box 530, Columbus, OH 43266-0030
 Portfolio Recovery Associates, 120 Corporate Blvd Ste 100, Norfolk, VA 23502
 Progressive Insurance, 6300 Wilson Mills Road, Mayfield Village, OH 44143
 Regional Finance Corp, 4770 Duke Dr, Mason, OH 45040
 Shindler Neff, LLP, 6135 Trust Dr, Suite 115, Holland, OH 43528
 Springleaf Financial, PO Box 1817, Zanesville, OH 43701
 Total Card, 5109 S Broadband Lane, Sioux Falls, SD 57109
 Tracir Financial Services, 2040 Brice Rd, Reynoldsburg, OH 43068
 Webbank/Fingerhut, 6250 Ridgewood Road, Saint Cloud, MN 56303
 Wells Fargo, PO Box 5185, Sioux Falls, SD 57117
 Zanesville Municipal Court, Case No.: CVH 1600887, PO Box 566, Zanesville, OH 43702-0566

and (iii) by method of service as required by Bankruptcy Rule 7004 (specify method)

 -NONE-

                                                                                        /s/ Mitchell Marczewski
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                                                                                      Zanesville, OH 43701
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